CaS€ 8-18-73704-&8'[ DOC 11 Filed 06/22/18 Entered 06/22/18 14245:30

     

Fill in this information to identify your case:

  
  

Debtor 1

 

Francine A. Lanaia
Firsl Name

 

   

Midd|e Name Last Name

             
 

Debtor 2 _
(Spouse if, Gling) First Name Middle Name Last Name

     
  
    
 

   

united States Bankruptcy Court for the: EASTERN DlSTRlCT OF NEW YORK

Case number 8-18-73704
(ifr<nown) " _

|:| Check if this is an
amended filing

Official Form 1068um

Summary of Your Assets and Liabilities and Certain Statistical information 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. Fill out ali of your schedules first; then complete the information on this form. if you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 

__Summarize Your A§sets

 

Your assetsl
Value of what you own

1. Schedule AlB: Property (Ofncial Form 106A/B)

1a. Copy line 55, Total real estate, from Schedule A/B ................................................................................................ $ 700’000'00_
1b. Copy line 62, Total personal propertyl from Schedule A/B $ 30,868.83
1c. Copy line 63, Total of all property on Schedule A/B ............................................................................................... $ 730,868_83

mummarize Your Liabilities

Your liabilities
Amount you owe

2. Schedule D: Credr'tors Who Have Claims Secured by Property (Official Form 1060)

2a. Copy the total you listed in Co|umn A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D... $ _ 987’612'12
3. Schedule E/F.' Creditors Who Have Unsecured C/ar'ms (Official Form 106E/F)
Sa. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedu/e E/F ................................. $ 65’000'00
3b. Copy the total claims from Part 2 (nonprioriiy unsecured claims) from line 6j of Schedule E/F ............................ $ 456.00_
Your total liabilities $ 1,053,068.12
_ ___ l

 

Part 3: Summarize Your lncome _and Expenses

4. Schedu/e /: Your lncome (Of'ficia| Form 106|)
Copy your combined monthly income from line 12 of Schedu/e / ................................................................................ $ 28’645'46

5. Schedule J.' Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c of Schedu/e J .......................................................................... $ 13’604'83

Answer_These Questionsfor Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7l 11, or 13?
|:| No. You have nothing to report on this part of the form. Check this box and Submit this form to the court With your other schedules

l Yes
7. What kind of debt do you have?

- Your debts are primarily consumer debts. Consumer deth are those "incurred by an individual primarily for a persona|, family, or
household purpose." 11 U.S.C. § 101(8). Fill out lines 8-99 for statistical purposes 28 U.S.C. § 159.

I___| Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
the court With your other schedules

Official Form 1068um Summary of Your Assets and Liabilities and Certain Statistical information page 1 of 2

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Deb[or 1 Francine A_ Lanaia __ ease number (ifknown) 8'18'73£]4

   

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Oft"rcial Form

 

122A-1 Line 11; oR, Form 1223 Line 11; oR, Form 1220-1 Line 14. $ 27’331~55
9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:
Total claim
From Part 4 on Scheduie E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 65,000.00
90. Claims for death or personal injury while you were intoxicated (Copy line 6c.) $ _ __ 0.00
9d. Student loans. (Copy line 6f.) $ 0.00
9e. Ob|igations arising out of a separation agreement or divorce that you did not report as
priority claims. (Copy line 6g.) _o'oo
9f. Debts to pension or profit-sharing plansl and other similar debts. (Copy line 6h.) +$ 0_00
99. Tota|. Add lines 93 through 9f. $ 65,000.00
Officlal Form 1068um Summary of Your Assets and Liabilities and Certain Statistical information page 2 of 2

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Fill in this information to identify your case and this filing:

 

 

 

 

Debt0r1 Francine A. Lanaia ____

First Name Middle Name Lasl Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy COurt for the: EASTERN D|STR|CT OF NEW YORK

CaS@ number 8-18-73704 lI| checkifthisis an
amended filing

 

Official Form 106A/B
Schedule A/B: Property 12/15

|n each category, separately list and describe items. List an asset only once. if an asset fits in more than one category, list the asset in the category where you think
it fits best. Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct information. if
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 

m Describe Each Residence, Buiiding, Land, or Other Reai Estate You Own or Have an interest in
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

El No. eo to Part 2.
- Yes. Where is the property?

 

 

 

1.1 What is the property? Check all that apply
4 Wllllam$bu|`gh D|`|Ve - Sing|e-fami|y home Do not deduct secured claims or exemptions Put the
Street addressl if availab|e, or other description m Dup|ex or multi_unit building amount of any secured claims on Schedule D:
Credrtors Who Have Claims Secured by Property.
m Condominium or cooperative
|:\ Manufactured or mobile home
Current value of the Current value of the
Ft. Salonga NY 11768-0000 m Land entire property? portion you own?
Cily Stale Z|P Code m investment property $700,000.00 $700,000.00
m T'meshare Describe the nature of your ownership interest
m Other _ _ __ (such as fee simplel tenancy by the entireties, or
Who has an interest in the property? Check one a life estate)- 'f kn°Wn'
. Debtor1 only
St.lffOlk l:l Debtor 2 only
County m
Debtor 1 and Debtor 2 only Check if this is community property
|:] At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

 

2. Add the dollar value of the portion you own for all of your entries from Part1, including any entries for
pages you have attached for Part 1. Write that number here ........................................................................... => $700’000'00

m Describe Your Vehic|es

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles you own that
someone else drives. lf you lease a vehicle, also report it on Schedu/e G.' Executory Contracts and Unex,oired Leases.

Official Form 106A/B Schedule A/B: Property page 1
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Deber1 Francine A. Lanaia CGS€ number (/fknown) _8-18-73704

3. Carsl vans, trucks, tractors, sport utility vehicles, motorcycles

 

m No

l Yes

3.1 Make: Mei'CedeS Who has an interest in the property? Check one DO not deduct Secured Claims .Or exemptions Put

_ _ the amount of any secured claims on Schedule D.'
Model.' 3550 - Debtor 1 only Cred/'tors Who Have Claims Secured by Property.
Year: 2007 __ m Debt°r 2 °n|Y Current value of the Current value of the
Approximate mileage: _ 200000 |:] Deb[om and Debtor 2 only entire property? portion you own?
Other information: __ m At least one of the debtors and another
m Check if this is community property $4’000-00 $4,000-00
(see instructions)

 

 

4. Watercraft, aircraft, motor homesl ATVs and other recreational vehicles, other vehicles, and accessories
Examp/es: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

- No
I:| Yes

|
5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for

.pages you have attached for Part 2. Write that number here ............................................................................. => $4’000'00

m Describe Your Persona| and Household items

Do you own or have any legal or equitable interest in any of the following items? Current value of the
portion you own?
Do not deduct secured
claims or exemptions

 

6. Household goods and furnishings
EXamp/es.' l\/lajor appliances, furniture, linens, chinal kitchenware

|:l No
- Yes. Describe .....

 

 

|Misc. Household Goods and Furnishings $2,500.00

 

7. Electronics
Examp/es.' Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
including cell phones, cameras, media players, games

l:l No
l Yes. Describe .....

 

!Mlsc. Electronics " $SOO.L

8. Collectibles of value
Examp/es.' Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coln, or baseball card collections;
other collections, memorabilia, collectibles

l No
l:l Yes. Describe .....

9. Equipment for sports and hobbies
EXamp/es.' Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
musical instruments

l No
l:l Yes. Describe .....

10. Firearms
EXamp/es: Pistols, rifles, shotguns, ammunition, and related equipment

l No
l:] Yes. Describe .....
Official Form 106A/B Schedule A/B: Property page 2

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Dethr 1 Francine A_ Lanaia CaSe number (ifknown) _8-18_73704

11. Clothes
Examp/es: Everyday clothes, furs, leather coats, designer wear, shoes. accessories

i:i No
l Yes. Describe .....

 

_Misc. Wearing App_arel f $2,500.00_

 

 

12. Jewelry
Examp/es: Everydayjewelry, costumejewe|ry, engagement ringsl wedding rings, heirloom jewelry, watches, gems, gold, silver

i:i No
l Yes. Describe .....

 

| Misc. Jewer[y _ $850.00

 

 

 

 

 

13. Non-farm animals
Examp/es: Dogs, cats, birds, horses

- No
i:i Yes. Describe .....

14. Any other personal and household items you did not already list, including any health aids you did not list
- No
i:i Yes. Give specific information .....

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached

 

for Part 3. Write that number here .............................................................................. $6’350'00
m Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the foilowing? Current value of tito

portion you own?
Do not deduct secured
claims or exemptions.

16. Cash
Examp/es: l\/loney you have in your Wallet, in your home, in a safe deposit box, and on hand when you file your petition

l:| No
. Yes ................................................................................................................

Cash $5.00

17. Deposits of money
Examp/es: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions. if you have multiple accounts with the same institution, list each.

 

i:i No
l Yes ........................ m$tituti°n name:
17,1, Checking Capitai one (1986) $5,000.00
17_2, Savings Captiai One - Custodiai Account (4621) $15,313.83
17.3. Checking Bethpage FCU $200-00
Official Form 106A/B Schedule A/B: Property page 3

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D€ber1 __Francine A. Lanaia Case number (ifknown) 8-18-73704

 

18. Bonds, mutual funds, or publicly traded stocks
EXarnp/es: Bond funds, investment accounts With brokerage firms, money market accounts

-No

l:l Yes __________________ institution or issuer name:

19. Non-pubiicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
and joint venture

-No

[i Yes. Give specific information about them ...................
Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiab/e instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negot/'ab/e instruments are those you cannot transfer to someone by signing or delivering them.

-No

I:i Yes. Give specific information about them
issuer name:

21. Retirement or pension accounts
Examples: interests in |RA, ER|SA, Keogh, 401(k), 403(b), thrift savings accountsl or other pension or profit-sharing plans

.No

I:| Yes. List each account separateiy.
Type of account: institution name:

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examp/es: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others

INo

|:\ Yes_ ____________________ institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

.No

|:] Yes _____________ issuer name and description.

24. interests in an education |RA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b)l and 529(b)(1).

- No
[| Yes _____________ Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit

.No

i:i Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
EXamp/es: lnternet domain names, websites, proceeds from royalties and licensing agreements

-No

l:| Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Examp/es: Buiiding permitsl exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

- No
i:i Yes. Give specific information about them...
Money or property owed to you? Current value of the
portion you own?

Do not deduct secured
claims or exem ptions.

28. Tax refunds owed to you
- No

l:| Yes. Give specific information about them, including whether you already filed the returns and the tax years .......

Official Form 106A/B Schedule A/B: Property page 4

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D€b\Or 1 Francine A. Lanaia Ca$€ number (ifknOW/i) 8-18-73704

29. Fami|y support
Examp/es: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
- No
|:\ Yes. Give specific information ......

30. Other amounts someone owes you
Examp/es.' Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
benefits; unpaid loans you made to someone else
l No

|:i Yes. Give specific information..

31. interests in insurance policies
EXamp/es: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

[iNo

l Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
value:

 

Whole life policy Unknown

32. Any interest in property that is due you from someone who has died
lf you are the beneficiary of a living trust, expect proceeds from a life insurance poiicy, or are currently entitled to receive property because
someone has died.

. No
l:l Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examp/es.' Accidents, employment disputes, insurance claims, or rights to sue

l No
|'_`| Yes. Describe each claim .........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
l No
|:i Yes. Describe each claim......m

35. Any financial assets you did not already list
- No
i:l Yes. Give specific information..

36. Add the dollar value of ali of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here ..................................................................................................................... $20’518'83

las Describe Any Business-Reiated Property You 0wn or Have an interest in. List any real estate in Part1.

37. Do you own or have any legal or equitable interest in any business-related property?
- No. Go to Part 6.

m Yes. Go to line 38.

Describe Any Farm- and Commercial Fishing-Reiated Property You Own or Have an interest in.
if you own or have an interest in farmland, list it in Part1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
l No. Go to Part 7.
i:i Yes Go to line 47.

Describe All Property You Own or Have an interest in That You Did Not List Above
Official Form 106A/B Schedule A/B: Property page 5

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CaS€ 8-18-73704-&8'[ DOC 11 Filed 06/22/18 Entered 06/22/18 14245:30

DeblOr 1 Francine A. Lanaia CaSe number tifkrwwn) 8-18-73704

53. Do you have other property of any kind you did not already list?
Examp/es: Season tickets, country club membership

- No
i:l Yes. Give specific information .........

 

 

54. Add the dollar value of all of your entries from Part 7. Write that number here $0_00 l
_ __L

List the Totais of Each Part of this Form

55. Part1: Total real estate, line 2 ...................................................................................................................... $700,000_00

56. Part 2: Total vehicles, line 5 $4,000.00_

57. Part 3: Total personal and household items, line 15 _ $6,350.00

58. Part 4: Total financial assets, line 36 $20,518.£&

59. Part 5: Total business-related property, line 45 _ $0.00

60. Part 6: Total farm- and fishing-related property, line 52 $0.00

61. Part 7: Total other property not listed, line 54 + $0.00_

62. Total personal property, Add lines 56 through 61... $30,868.83 COpy personal property total $30,868.83

63. Total of all property on Schedule AlB. Add line 55 + line 62 $730,868.83
Official Form 106A/B Schedule A/B: Property page 6

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Fill in this information to identify your case:

 

 

Debtor1 Francine A. Lanaia

First Name Middle Name Last Name
Debtor 2 _ _
(Spouse ifl filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: EASTERN DiSTRlCT OF NEW YORK

 

Case number 8-18-73704
(if known) |:| Check if this is an

amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt 4/16

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B.' Property (Official Form 106A/B) as your source, list the property that you claim as exempt. if more space is
needed, fill out and attach to this page as many copies of Part 2: Additi'ona/ Page as necessary. On the top of any additional pages, write your name
and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory |imit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

mntify_ the Pro_pgt_y You Claim as Exempt

1 . Which set of exemptions are you claiming? Check one on/y, even if your spouse is filing with you.

 

l You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
l:l You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information beiow.

Brtof description of the property and itne on Current vatue of the An'tount of the exemption you claim Spec$fii: laws that altow exemption
Schedule AJB that lists this property portion you own

Copy lrie value from Check only one box for each exemption

Schedule A/B
2007 Mercedes 8550 200000 miles $4,000_00 l $4,000_00 Debtor & Creditor Law §
Line from Schedule A/B: 3.1 -_ _ _ 282(1)

l:-l 100% of fair market value, up to
any applicable statutory limit

 

Misc. Household Goods and $2 500_00 l $2,500_00 NYCPLR § 5205(a)(5)
Furnishings ’- _ _ _
Line from Schedule A/B: 6.1 m 100% of fair market value, up to

any applicable statutory limit

Misc. Electronics $500_00 - $500_00 NYCPLR § 5205(a)(5)
Line from Schedu/e A/B: 7.1 -

 

l:l 100% orfair market vaiue, up to
any applicable statutory limit

Misc. Wearing Apparel $2 500_00 - $2’500_00 NYCPLR § 5205(a)(5)
Line from Schedule A/B: 11.1 ’ - _ _ -

l:l 100% of fair market value, up to
any applicable statutory limit

Misc. Jewelry $850_00 - $850_00 NYCPLR § 5205(a)(6)
Line from Schedule A/B: 12.1 - - -
l:l 100% of fair market value, up to
any applicable statutory limit

Official Form 1060 Schedule C: The Property You Claim as Exempt page 1 of 2
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Debtor1 Francine A. Lanaia _ _ Case number (if known) 8-18-73704
Brief description of the property and line on Current value of tlio Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own
Cr:i;:i\,f the value from Check only one box for each exemption.
Schedule A)E
Checking: Capitai one (1986) $5,000_00 - $1’150_00 NYCPLR § 5205(a)(9)

Line from Schedule A/B: 17.1 _ _

l:l 100% of fair market value, up to
any applicable statutory limit

Whole life policy Unknown - $0_00 NY lns. Law § 3212, Est. Pow.
Line from Schedule A/B: 31.1 - _ _ & Tr. § 7-1.5, NYCPLR §
l:l 100% of fair market value, up to 5205(i)

any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

-No

l:l Yes Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

l:l No
l:l Yes
Official Form 106C Schedule C: The Property You Claim as Exempt page 2 of 2

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Case 8-18-73704-ast

DOC 11 Filed 06/22/18

Fill in this information to identify your case:

Debtor 1

First Na_me

Debtor 2

(Spouse if, filing) First Name

United States Bankruptcy Court for the:

Case number _§-18-73704

(if known)

_Francine A. Lanaia

Middle Name Last Name

Middle Name _Last Name

 

EASTERN DlSTR|CT OF NEW YORK

Ent€red 06/22/18 14245:30

|:| Check if this is an
amended filing

 

Official Form 106D

Schedule D: Creditors Who I-lave Claims Secured by Property

12/15

 

Be as complete and accurate as possible. if two married people are filing togetherl both are equally responsible for supplying correct information. if more space is
needed, copy the Additionai Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if

known).

1. Do any creditors have claims secured by your property?

El No. Check this box and submit this form to the court With your other schedules You have nothing else to report on this form.

l Yes. Fiii in ali of the information beiow.

_ustell S_ssured Claims

2. List ali secured ciaims. if a creditor has more than one secured clalm, list the creditor separately for
each ciaim. if more than one creditor has a particular claim, list the other creditors in Part 2. As much
as possible. list the claims in alphabetical order according to the creditor's name.

‘2.1 Charies A. Smith

Creditor's Name

7 Bayberry Road
Randolph, NJ 07869

Number. Sireet, Cityl Stale & Zip Code

Who owes the debt? Check one.

- Debtor1 only

m Debtor 2 only

l:l Debtor1 and Debtor2 only

l] At least one of the debtors and another

m Check if this claim relates to a
community debt

Date debt was incurred

l"ZT|§haries E. Smith

Creditor's Name

8 Park View Drive
Commack, NY 11725

Numberl Streetl City. State & Zip Code

 

Who owes the debt? Check one.

l___l Debtor 1 only

l:l Debtor 2 only

l:l Debtor 1 and Debtor 2 only

- At least one of the debtors and another

l:l Check if this claim relates to a
community debt

Date debt was incurred

Official Form 106D

   

Eo_.rlM A Co/umn §

Amount of claim Value of collateral

Do not deduct the that supports this
value of collaterall claim
Describe the property that secures the ciaim: $24,650_28 $71_]0,0[|'[].0[]

4 Williamsburgh Drive Ft. Salonga,
NY11768 Suffolk County

 

As of the date_you fiie, the claim is: Check ali that
apply.

l:l Contingent

l:l Unliquidated

. Disputed

Nature of lien. Check ali that app|y.

m An agreement you made (such as mortgage or secured
car loan)

l:l Statutory lien (such as tax iien, mechanic's |ien)

- Judgment lien from a lawsuit

l:l Other (including a right to offset)

Last 4 digits of account number

3401 _

Describe the property that secures the ciaim: $143,334_84

4 Williamsburgh Drive Ft. Salonga,
NY 11768 Suffolk County

$700,000.00

Eof the date you tilel the claim is: Check all that
apply

l:l Contingent

l] Unliquidated

- Disputed

Nature of lien. Check all that appiy.

l:l An agreement you made (such as mortgage or secured
car loan)

l:l Statutory lien (such as tax lien. mechanic's iien)

- Judgment lien from a lawsuit
l:l Other (including a right to offset)

Last 4 digits of account number 3401

Schedule D: Creditors Who Have Claims Secured by Property

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Colirrnn _t';_"

Unsecured
portion
ll any

$0.00

$0.00

page 1 of 3
Besl Case Bankruptcy

CaS€ 8-18-73704-&8'[ DOC 11 Filed 06/22/18 Entered 06/22/18 14245:30

 

Dethi' 1 Francine A_ Lanaia Case number (if know) 8_18_73704
First Name Middle Name Last Name ' _
2.3 _Christopher McNamara Describe the propeny that Secures the Claim: $146,627.00 $700,000.00 $0.00_
Cred“°"$"a"‘e 4 Williamsburgh Drive Ft. Salonga,

NY 11768 Suffolk County

 

17 Dorian Lane As of the date you file, the claim is: Check all that

commack, NY 11725 al;pl"<y;°mmgem
'Number, street city, state & zip code _ |:| Uniiquidaled
l Disputed
Who owes the debt? Check one. Nature of lien. Check ali that app|y.
l:l Debtor1 only m An agreement you made (such as mortgage or secured
l:l Debtor 2 only car loan)
l:l Debtor1 and Debtor 2 only l:l Statutory lien (such as tax lien, mechanic's lien)

- At least one of the debtors and another - Judgment lien from a lawsuit

m Check if this claim relates to a l] Other (including a righ_t to offset)
community debt

 

 

 

 

Date debt was incurred _ Last 4 digits of account number
l_2__4 l G|en M-_ Lanaia Describe the property that secures the ciaim: $173,000.00 $700,000.00 $0;0£
C“’""‘°"S Na‘“"=' 4 Williamsburgh Drive Ft. Salonga,
NY 11768 Suffolk County
' , l ' ' : ch k ii `
g Southdown Court _Apsp|t;f the date you file the c aim is ec a that
_PA 17430 l___l Contingent
Number, Slreet, City. Stale & Zip Code m Un|iquidated
l] Disputed
Who owes the debt? Check one. Nature of lien. Check ali that apply.
l Debtor1 only l:l An agreement you made (such as mortgage or secured
l:l Debtor 2 only car loan)
l:l Debtor 1 and Debtor 2 only l:l Statutory lien (such as tax lien, mechanic's lien)

m At least one of the debtors and another l:l Judgment lien from a lawsuit

l:l Check if this claim relates to a - Other (including a right to offset) SBCOI‘td NlOi'tgage
community debt ' _ '_

 

Date debt was incurred _ Last 4 digits of account number
2.5 JP Morgan Chase Describe the property_fh_at Secures the cia_im= $500,000.00 $700,000.00 $287,612.12
C'ed"°r`$ Name 4 Williamsburgh Drive Ft. Salonga,
NY 11768 Suffolk County
rii,h i‘ ':ch i<iihl
270 Park Avenue _Ap:|t;f the date you e t e c aim is ec a t al
New York, NY 10017 l;l Contingent
Number, Street, City. State & Zip Code m Un|iquidated
l:l Disputed
Who owes the debt? Check one. Nature of lien. Check all that app|y.
l Debtor1 only l:l An agreement you made (such as mortgage or secured
l:l Debtor 2 only car loan)
m Debtor 1 and Debtor2 only l:l Statutory lien (such as tax lien, mechanic's lien)

l:l At least one of the debtors and another l:l Judgment lien from a lawsuit

m Check if this Claim relates to a - Other (including a right lo Offsel) Mortgage
community debt _ _

Date debt was incurred Last 4 digits of account number

Add the dollar value of your entries in Co|umn A on this page. Write that number here: _ $987,612_12 l

if this is the last page of your form, add the dollar value totals from ali pages. l
Write that number here: $987,612.12 l

Official Form 1060 Additionai Page of Schedule D: Creditors Who Have Claims Secured by Property page 2 ot`3

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Debtor1 Francine A_ Lanaia Case number (irknow) 8-18-73704

First Name Middle Name Last-Name

mist Others to Be Notified for a Debt That ¥ou A|ready Listed_

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part1. For exampie, if a collection agency is trying
to collect from you for a debt you owe to someone else, list the creditor in Part1, and then list the collection agency here. Similariy, if you have more than one
creditor for any of the debts that you listed in Part1, list the additional creditors here. if you do not have additional persons to be notified for any debts in Part1,
do not fill out or submit this page.

 

 

|] Namer Numbe" Street Cltyr Stale 8* Zip Code On which line in Part 1 did you enter the creditor? 2.5
JP Morgan Chase
1985 NlarCUS Avenue Last 4 digits of account number_
NY2-M352
New Hyde Park, NY 11042

 

|:~l Name» NUmb€"\ Street. Clty» Stale & Zip Code On which line in Part1 did you enter the creditor? 2.5
JP Morgan Chase
C/O Feln SUCh Last 4 digits of account number_
28 East Main Street
Suite 1800
Rochester, NY 14614

 

 

m Name' Numbe"' Street Clly» Stale 8‘ Zip Code On which line in Part 1 did you enter the creditor? 2.5
JP Morgan Chase Bank
C/O Feli‘i SL|Cl'i & Ci‘al"ie LLC Last4digits of accountnumber_
1400 old Country Road
Suite C103
Westbury, NY 11590

 

|:l Namei NUmber. Streelr ley» Stale & Zip Code On which line in Part1 did you enter the creditor? 2.5
Seterus, inc.
14523 SW Nlillikan Way Last 4 digits of account number_
Suite 200
Beaverton, OR 97005

 

l':| Name' Numbe'" Street Clty' Stale 8‘ Zip Code On which line in Part1 did you enter the creditor? 2.1
Taylor Eidridge & Endres
811 W. Jel'lChO Turnpike Last 4 digits of account number_
Suite 101W
Smithtown, NY 11787

 

m l

Name, Number_, Street. Ciiy, State & Zip Code On which line in Part 1 did you enter the creditor? 2.2
Taylor Eidridge & Endres

811 W. Jericho Turnpike Last 4 digits of account number _
Suite 101W
Smithtown, NY 11787

 

[l Name. NUmbel'» Streel- CifY» Stale 31 Zip Code On which line in Part1 did you enter the creditor? 2.3
Tayior Eldridge & Endres
811 W. Jel'lChO Turnpike Last 4 digits of account number_
Suite 101W
Smithtown, NY11787

Official Form 106D Additionai Page of Schedule D: Creditors Who Have Claims Secured by Property page 3 ot`3

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Fill in this information to identify your case:

 

Debtor1 Francine A. Lanaia ___ _ _
First Name Middle Name Last Name

Debtor 2 _ _

(Spouse if, filing) First Name Middle Name Last Name-

United States Bankruptcy Court for the: EASTERN DlSTRlCT OF NEW YORK

Case number
(if known)

8-18-73704
|:| Check if this is an
amended filing

 

Official Form 106E/F
Schedule ElF: Creditors Who Have Unsecured Claims 12/15

 

Be as complete and accurate as possible. Use Part 1 for creditors with PR|OR|TY claims and Part 2 for creditors with NONPR|OR|TY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Officlal Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. if more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. if you have no information to report in a Partl do not file that Part. On the top of any additional pages, write your name and case
number (if known).

Part1: LEt All of Your PR|OR|TY Unsecured Claims
1. Do any creditors have priority unsecured claims against you?
l:l No. Go to Part 2.

- Yes.

List all of your priority unsecured claims. if a creditor has more than one priority unsecured ciaim, list the creditor separately for each ciaim. For each claim listedl
identify What type of claim it is. if a claim has both priority and nonpriority amounts list that claim here and show both priority and nonpriority amounts As much as
possible. list the claims in alphabetical order according to the creditor's name. if you have more than two priority unsecured claims, fill out the Continuation Page of Part
1. if more than one creditor holds a particular claiml list the other creditors in Part 3.

 

 

(For an explanation of each type of claiml see the instructions for this form in the instruction booklet.)

 

 

 

Total claim Prlority Nonpriority
_ amount amount
2.1 internal Revenue Service Last 4 digits of account number $78,156.00 $50,000.00_ $28,_1§6.00
Prlority Creditor's Name
PO BOX 7317 When was the debt incurred?
Phiiadeignial_gA 19101-731?
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. l:l Contingent
- Debtor1 Onlv l:l unliquidated
l] Debtor 2 only l:l Disputed
l:l Debtor1 and Debtor 2 only Type of PR|OR|TY unsecured claim:
l:l At least one of the debtors and another m Domestic support obligations
l:l Check if this claim is for a community debt - Taxes and certain other debts you owe the government
is the claim subject to offset? l:l Claims for death or personal injury Whi|e you were intoxicated
- NO l:l Other. Specify
l:l Yes
Official Form -106 E/F Schedule ElF: Creditors Who Have Unsecured Claims Page 1 of4

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47769 Best Case Bankruptcy

Case 8-18-73704-ast

Debtor1 _Francine A. Lanaia

§

law List A|l of Your NONPR|OR|TY Unsecured Claims

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Case number (if know)

 

NYS Department of

Priority Creditor's Name

Taxation and Finance

Attn: Office of Counsel

Bidg 9 WA Harriman Campus

Aibanyl NY 12227
Number Street City Stale Zip Code

Who incurred the debt? Check one.

- Debtor 1 only

l:l Debtor 2 only

l:l Debtor1 and Deblor 2 only

l:l At least one of the debtors and another

l:l check if this claim is for a community debt

ls the claim subject to offset?

-No

[l Yes

8-18-73704

Last 4 digits of account number _ $15,000.00 $15,000.00 $0.00

 

When was the debt incurred?

As of the date you file, the claim is: Check all that apply
l:l Contingent
l:l unliquidated

l:l Disputed
Type of PR|OR|TY unsecured claim:

l:l Domestic support obligations

- Taxes and certain other debts you owe the government

l:l Claims for death or personal injury while you were intoxicated
lIl other specify

 

 

3. Do any creditors have nonpriority unsecured claims against you?

l:l No. You have nothing to report in this palt. Submit this form to the court with your other schedules

l Yes.

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. if a creditor has more than one nonpriority unsecured
ciaim, list the creditor separately for each claim For each claim listedl identify what type of claim it is. Do not list claims already included in Part 1. if more than one
creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured claims fill out the Continuation Page of Part 2.

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Total claim
41 l Credit One Bank Last 4 digits of account number 8778 _$12,00
_ Nonpriority Creditor's Name
585 South Pilot Street When was the debt incurred? 2015
L.as Ve_gas,_ NV 89119
Number Street City State Zip Code As of the date you file, the claim is: Check ali that apply
Who incurred the debt? Check one.
l] Contingent
l Debtor1 only _ _
_:_ l:l Un|lquldated
Debt 2 l
cr any l:l Disputed
ij Debtor1 and Debt°i 2 °niy Type of NONPR|OR|TY unsecured claim:
l:l At least one of the debtors and another [l Student loans
i:i Check if this Claim is f°" a cC’m"“l"itil debt [l Ob|igations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
l No l:l Debts to pension or profit-sharing plansl and other similar debts
l:l Yes l Other_ Specify Credit Cal"d
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of4

Besl Case Bankruptcy

CaS€ 8-18-73704-&8'[ DOC 11 Filed 06/22/18 Entel’ed 06/22/18 14245:30

 

Debtor 1 _Francine A_ Lanaia _ Case number (irl<now) 8-18-73704 _ _
_4 2 James A_ Prestiano, PC Last 4 digits of account number _ _ $0_00_
Nonpriority Creditor's Name
631 Commack Road, Suite A When was the debt incurred?
Commack, NY 11725
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply

Who incurred the debt? Check one.
- Debtor 1 only
i:l Debtor 2 only

m Contingent
i:i unliquidated

 

 

- Disputed
m Debi°ri and Debi°i 2 °"iV Type cf NoNPRloRlTY unsecured claim:
m At least one of the debtors and another |___| Student loans
m check if this ciaim is t°" a community debt i:l Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
- No m Debts to pension or profit-sharing plans, and other similar debts
Judgment/Attorney to be subject to 522(f)
i:i Yes l Other. Specify motion
i4.3 l Va|mont Enterprises LLC Last 4 digits of account number B93 $0.00
Nonpriority Creditor's Name
6268 Jericho Turnpike When was the debt incurred?
Commack, NY11725 __ _
Number Street City State Zip Code As of the date you filel the claim is: Check ali that apply

Who incurred the debt? Check one.
- Debtor1 only
l:l Debtor 2 only

L_.l Contingent
i:i Uniiquidated

l Disputed
i:i Debtor1 and Debtor 2 only Type of NONPR|OR|TY unsecured claim:
i:i At least one of the debtors and another |:| Student loans
i:i check if this claim is t°" a community debt i:l Obiigations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
l No \:i Debts to pension or profit-sharing plans, and other similar debts
|:| Yes l Other, Specify Judgment/landlord

 

 

mgm others to Be Notified About a Debt That Ycu Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For examplel if a collection agency is
trying to collect from you for a debt you owe to someone else, list the original creditor in Farts 1 or 2, then list the collection agency here. Similariy, if you have
more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. if you do not have additional persons to be notified for
any debts in Parts 1 or 2, do not fill out or submit this page.

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?

Mark S. Needleman Line § of (Check one): ij Part 1: Creditors with Priority Unsecured Claims

521 Rte' 111’ Ste' 203 - Part 2: Creditors with Nonpriority Unsecured Claims
Hauppauge, NY11788

Last 4 digits of account number

 

md the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured ciaims. This information is for statistical reporting purposes oniy. 28 U.S.C. §159. Add the amounts for each type
of unsecured claim.

 

Total Claim
6a. Domestic support obligations 63 $ 0.00
Total claims -
from Part 1 6b. Taxes and certain other debts you owe the government 6b $ 93 156_00
60. Claims for death or personal injury while you were intoxicated 6c $ 0_()0'
6d. Other. Add all other priority unsecured claims Write that amount here 6d $ O_OO
6e Total Priority. Add lines 6a through 6d 66- $ 93,156.00
Total Claim
Gf. Student loans ef~ $ 0.00
Total claims
from Part 2 6g Obiigations arising out of a separation agreement or divorce that you 69 $ 0_00
Official Form 106 E/F Schedule ElF: Creditors Who Have Unsecured Claims Page 3 of4

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Case 8-18-73704-ast

Debtor1 _Mnaia

6h.
6i.

ei.

Ol‘Hcla| Form 106 E/F

Case number (lf l<ncw) 8-18-73704

 

did not report as priority claims
eh $ 0.00

Debts to pension or profit-sharing plans, and other similar debts .
Other. Add all other nonpriority unsecured claims Write that amount here. 6i. _

Total Nonpriority. Add lines 6f through 6i.

Schedule E/F: Creditors Who Have Unsecured Claims

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$ 12.00

el $ 12.00_

Page 4 of 4

Best Case Bankruptcy

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Fill in this information to identify your case:

Debtor1 Francine A. Lanaia _ _
First Name Middle Name Last Name

Debtor 2 _
(Spouse ii, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: EASTERN DlSTRlCT OF NEW YO_RK

 

Case number 8-18-73704
(ifknewn) |:| Check if this is an
amended filing

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired ieases?
l No. Check this box and file this form with the court with your other schedules You have nothing else to report on this form.
|:l Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2. List separately each person or company with whom you have the contract or lease, Then state what each contract or lease is for (for
exampie, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
and unexpired leases.

 

 

 

 

 

 

 

 

Person or company with whom you have the contract or lease State what the contract or lease is for
iliarne, Number, Street. City. State end ZiP Code
2.1
Name
Tumber Street
___ Ci_ty _ _ State ZiP Code _
2.2
Name _
Number Street _ _ _
'C_lty _ §late Z_l____P;_C_qde _ _
2.3
Name _
Number Street _
City__ S_t_at_i§_ ZiP Coge_ _
2.4
Name _ _
Number Street
_ _Ci_ly _ _ _ State _Zil° Code _ _ __ _ _ _ _ _
2.5
Name _ _ _
Numbe_r Street
_ guy §t`e€e" __ zlP Code _ _ _ _
Official Form 1066 Schedule G: Executory Contracts and Unexpired Leases Page 1 0f1

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CaS€ 8-18-73704-&8'[ DOC 11 Filed 06/22/18 Entel’ed 06/22/18 14245:30

Fill in this information to identify your case:

 

Debtor1 Bancine A. Lanaia

First Name Middle Name Last Name
Debtor 2 _ _
(Spouse if. filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: EASTERN D|STR|CT OF NEW YORK

 

Case number _8-_18-73704
(if known) l:| Check if this is an

l amended filing

Official Form 106H
Schedule H: Your Codebtors 12/15

 

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. if two married
people are filing together, both are equally responsible for supplying correct information. if more space is needed, copy the Additionai Page,
fill it out, and number the entries in the boxes on the left. Attach the Additionai Page to this page. On the top of any Additionai Pages, write
your name and case number (if known). Answer every question.

1. Do you have any codebtors? (if you are filing a joint case, do not list either spouse as a codebtor.

l:l No
l Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Commun/'ty property states and territories include
Arizona, Caiifornial idaho, Louisianal Nevada, New l\/lexico, Puerto Rico, Texas, Washington, and Wisconsin.)

. No. Go to line 3.
l:l Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

3. in Co|umn 1, list ali of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Officiai
Form 106D), Schedule E/F (Officia| Form 106E/F), or Schedule G (Officiai Form 106G). Use Schedule D, Schedule ElF, or Schedule G to
fill out Co|umn 2.

Co/umrl 1: Your codebtor Co/urnrl 2.' The creditor to whom you owe the debt
Name, Number, Street, City. State and ZiP Code Check all SCheduIeS that applyl
3.1 HK Landis Hoidings l Schedule D, line 2.3
4 Williamsburgh Drive jj Schedule E/j: line
Ft. salcnga, NY11768 m Schedule G ' '

 

Christopher McNamara

3.2 HK Landis Hoidings LLC l Schedule D, line 2.2
4 willamsburgh Drive l;l Schedule E/l= line_ _
Ft. Salonga, NY11763 i:l Schedule G 1 _

 

Charies E. Smith

3.3 Landis Hoidings LLC l Schedule D, line 2.2

4 Williamsburgh Drive l:| Schedule E/F line
Ft. Salonga, NY11768 l:l Schedule G y

Charies E. Smith

Official Form 106H Schedule H: Your Codebtors Page 1 of2

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Debtor 1 Bancine A. Lanaia Case number tilknown) 8-18-73704

 

Additionai Page to List More Codebtors

Co/umn 1.' Your codebtor Co/umn 2: The creditor to whom you owe the debt

Check ali schedules that apply:

3.4 Landis Hoidings LLC l Schedule D, line 2.3
4 Williamsburgh Drive jj Schedule E/F |in
Ft. salcnga, NY11768 g Schedule G ' e _

Christopher McNamara

 

3.5 Landis Hoidings LLC HK l Schedule D, line 2.2
4 Williamsburgh Drive El Schedule E/F line
Ft. Salonga, NY 11768 |:| Schedule G l

Charies E. Smith

 

 

Official Form 106H Schedule H: Your Codebtors Page 2 of 2
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CaS€ 8-18-73704-&8'[ DOC 11 Filed 06/22/18 Entel’ed 06/22/18 14245:30

Fill in this information to identif our case:
Debtor 1 Francine A. Lanaia

Debtor 2
(Spouse, it filing)

 

United States Bankruptcy Court for the: EASTERN DiSTR|CT OF NEW YORK

 

Case number 8-13-73704 Check if this is:

(if known)

ij An amended filing

[i A supplement showing postpetition chapter
13 income as of the following date:

 

 

Official Form 106| m
Schedule i: Your income 12/15

Be as complete and accurate as possible. if two married people are filing together (Debtor1 and Debtor 2)l both are equally responsible for
supplying correct information. if you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. if you are separated and your spouse is not filing with youl do not include information about your spouse. if more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

IHI__ Describe E_ml?'_<_>vment

1. Fill in your employment

 

 

information. Debtor 1 Debtor_Z or non-filing spouse
' E'E'"p'ye“
informationpalocut :dgitional |:l N<>t employed i:i N°i employed

employers' OCCuPainn _Consuitant

 

include part-time, seasonall or

 

self-employed worl<. Employer's name _Yf-E_mployed

Occupation may include student Empi°¥er'$ address

4 Williamsbur h Drive
or homemaker, if it applies g

Ft. Salonga, NY 11768

 

How long employed there? lyr

Give Detaiis About Monthly income

 

Estimate monthly income as of the date you file this form. if you have nothing to report for any iine, write $0 in the space. include your non-filing
spouse unless you are separated

if you or your non-filing spouse have more than one employer, combine the information for all employers forthat person on the lines below. if you need
more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

 

List monthly gross wages, salary, and commissions (before ali payroll

2- deductions). if not paid monthlyI calculate what the monthly wage would be. 2- $ 19t103'00 $ N/A
3. Estimate and list monthly overtime pay. 3. +$ 0.00 +$ N/A
4. Ca|cu|ate gross income. Add line 2 + line 3. 4l $ 19,103.00 ` ` $

N/A

Official Form 1061 Schedule I: Your lncome page l

CaS€ 8-18-73704-&8'[ DOC 11 Filed 06/22/18 Entel’ed 06/22/18 14245:30

 

 

 

 

Debtor1 __Francine A. Lanaia Case number tifknown) 8-18-73704
For Debtor 1 For Debtor 2 or
non-filing spouse
Copy line 4 here __ ________ __________________ 4- $ 23,500.00 $ N/A
5_ List all payroll deductions:

10.

11.

12.

13.

 

 

 

 

 

 

 

 

 

 

 

 

 

5a Tax, Medicare, and Sociai Security deductions 5a. $ 0.00 $ _ _ NIA
5b. Mandatory contributions for retirement plans 5b. $ 0.00 $ N/A
50. Voluntary contributions for retirement plans 50. $ 0.00 $ ii NIA
5d. Required repayments of retirement fund loans 5d. $ 0.00 $ NlA
5e. insurance 5e. $ OT $ _ NlA
5f. Domestic support obligations 5f. $ 0.00 $ N/A
59. Union dues 59. $ 0.00 $ N/A
5h. Other deductions. Specify: 5h. $ 0.00 + $ N/A_
Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+59+5h. 6` $ 0.00 $ __ NIA
Ca|cu|ate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 23,500.00 $ N/A
List all other income regularly received:
8a. Net income from rental property and from operating a business,

profession, or farm

Attach a statement for each property and business showing gross

receipts ordinary and necessary business expenses, and the total

monthly net income. Ba. $ 3,645.46 $ NIA
8b. interest and dividends 8b. $ 0.00 $ __ N/A
8c. Famiiy support payments that you, a non-filing spouse, or a dependent

regularly receive

include alimony, spousal support, child support, maintenancel divorce

settlement, and property settlement Sc. $ 0.0_0 $ N/A
8d. Unemp|oyment compensation 8d. $ 0.00 $ _ N/A_
8e. Sociai Security 86. $ 0.00 $ N/_A_
8f. Other government assistance that you regularly receive

include cash assistance and the value (if known) of any non-cash assistance

that you receive, such as food stamps (benefits under the Supplemental

Nutrition Assistance Program) or housing subsidies

Specify: 8f. $ 0.00 $ NlA
8g. Pension or retirement income _ 89. $ 0.00 $ N/A
8h. Other monthly income. Specify: 8h.+ $ 0.00 + $ N/A
Add ali other income. Add lines 8a+8b+80+8d+8e+8f+8g+8h. 9. $ _ 3,645.46 ` $ N/_A!
Ca|cu|ate monthly income. Add line 7 + line 9. 10. $ 27,145.46 +

 

 

 

 

$ N/A… $ 27,145.46

 

Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse

 

State ali other regular contributions to the expenses that you list in Schedule J.

include contributions from an unmarried partner, members of your household, your dependents your roommates, and

other friends or relatives

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify: 11. +$ 0.00
Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.

Write that amount on the Summary of Schedu/es and Statistical Summary of Certain Liabilities and Reiated Data, if it
applies 12. $ 27,145.46

 

Com'bined
monthly income
Do you expect an increase or decrease within the year after you file this form?

l No.

[l Yes. Expiain: _ _ _i

 

 

Official Form 1061 Schedule l: Your lncome page 2

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Fill in this information to identify your case:

 

 

 

Debtor1 Francine A_ Lanaia CheCk if this iSf

ii |] An amended filing
Debtor 2 |:] A supplement showing postpetition chapter
(Spouse, ifflling) 13 expenses as of the following date:
United States Bankruptcy Court for the: EASTERN D|STR|CT OF NEW YORK |V|lV| / DD / YYYY

 

Case number 8-18-73704
(lr known) _

 

_Officiai Form 106J
Schedule J: Your Expenses 12/15

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Describe_Your Household

 

1. is this a joint case?

- No. Go to line 2.
l] Yes Does Debtor 2 live in a separate househo|d?

L__l No
i:l Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents? [_”_| No

 

Do not list Debtor 1 . Yes_ Fill out this information for Dependent’s relationship to Dependent’s iI_)oes dependent
and Debtor 2_ each dependent...... Debtor1 or Debtor 2 age live with you?
_‘_ " _ _T'. .__= ;__,T'_:_-_”__;:`F `- §§ EEEI_EEE‘EI'_{
Do not state the i:i N°
dependents names Daughter 26 l Yes
l:] No
_ _ _ _ _ l:l Yes
l:l No
\:l Yes
m No
|:I Yes
3. Do your expenses include - No _ _

expenses of people other than
yourself and your dependents?

lam Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

|] Yes

include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your lncome

(Of'ficiai Form 106|.) _ Your expenses
___-__-g.-_-_.-_¢

4. The rental or home ownership expenses for your residence. include first mortgage

 

 

 

 

payments and any rent for the ground or iot_ 4' $ o`oo

if not included in line 4:

4a. Reai estate taxes 4a. $ 0.00

4b. Property, homeowner’s, or renter's insurance 4b. $ 0_00

4c. Home maintenance, repair, and upkeep expenses 4c. $ _ _ 0.00

4d. Homeowner's association or condominium dues 4d. $ 0.00
5. Additionai mortgage payments for your residence, such as home equity loans 5. $ 3,241.00

Official Form 106J Schedule J: Your Expenses page 1

Debtor 1

6.

16.

17.

18.

19.

20.

21.
22.

23.

24.

Official Form 106J

CaS€ 8-18-73704-38'[ DOC 11 Filed 06/22/18

Francine A. Lanaia

Uti|ities:

6a. Electricity, heatl natural gas

6b. Water, sewerl garbage collection

60. Telephone, cell phone, internet, satellite, and cable services

6d. Other. Specify: Ce|| Phone

Food and housekeeping;rppiies

Chiidcare and children's education costs

Ciothing, iaundry, and dry cleaning

Persona| care products and services

Medicai and dental expenses

Transportation. include gas, maintenancel bus or train fare.

Do not include car payments

Entertainment, ciubs, recreation, newspapers, magazines, and books
Charitab|e contributions and religious donations

|nsurance.

Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance

15b. Health insurance
150. Vehicie insurance
15d. Other insurance. Specify:

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

Specify! estimated taxes _

 

installment or lease payments:
17a. Car payments for Vehicie 1

17b. Car payments for Vehicie 2
17c. Other. Specify:
17d. Other. Specify:

 

 

Your payments of alim_ony, maintenance, and support that you did not report as
deducted from your pay on line 5, Schedule l, Yourlncome (Officiai Form 106|).

Other payments you make to support others who do not live with you.
Specify:

 

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Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

20a. l\/lortgages on other property

20b. Reai estate taxes

200. Propertyl homeowner`s, or renter's insurance
20d. Niaintenance, repair, and upkeep expenses
20e. Homeowner's association or condominium dues
Other: Specify:

Ca|cu|ate your monthly expenses

223l Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), if anyl from Official Form 106J-2

220. Add line 22a and 22b. The result is your monthly expenses
Ca|cu|ate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule i.
23b. Copy your monthly expenses from line 220 above.

230. Subtract your monthly expenses from your monthly income.

The result is your monthly net income.

Case number (if known) 8-18-73704

6a. $ 478.00
6b. $ 50.00
6c $ 79.00
6d` $ _ 144.83
7. s _ 750.00
8. $ 0.00
9` $ 300.00
10` $ 75.00
11` $ 100.00
12, $ 650.00
13. $ 100.0§
14. $ 25.00
153. $ 1,000.00
15b. $ 540.00
15C. $ 683.(£
15d. $ 0.00
16. $ _ 6,500.00
17a. $ 0.00
17b. $ _ o.L
17C. $ _0.00_
17d. $ 0.00
18. $ 0.00
$ 0.00

19.
20a. $ 0.00
20b. $ 0.0Q
20c. $ 0.00
20d. $ 0.00
20e. $ 0.00
21. +$ 0.00

$_ _MM
$

$ 14,715.83`

 

23a $ 27,145.46
23b_ -$ 14!715.83

230. $

Do you expect an increase or decrease in your expenses within the year after you file this form?
For exampie, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a

modification to the terms of your mortgage?

 

 

- No.
Explain here:

i:l Yes

 

Schedule J: Your Expenses

 

12,429.63

page 2

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Debtor1 Francine A. Lanaia Case number<rfl<nown) 8-18-73704

Part12: §gn Beiow

i have read the answers on this Statement ofFinanciaIAffairs and any attachments, and | declare under penalty of perjury that the answers
are true and correct. l understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

Francine A. Lanaia _ Signature of Debtor 2
Signature of Debtor 1

Date _ _ Date

Did you attach additional pages to Your Statement of FinancialAffairs for individuals Filing for Bankruptcy (Officiai Form 107)?
- No

i:i Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

- No

i:i Yes Name of Person . Attach the Bankruptcy Petitiori Preparer's Notice, Dec/aration, and Signature (Officiai Form 119).

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 7

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